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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                        FORT MYERS DIVISION

MARK A. GYETVAY,

      Plaintiff,

v.                                       Case No.: 2:22-cv-571-JLB-KCD

THE UNITED STATES
DEPARTMENT OF JUSTICE,

            Defendant.
                                    /

                                   ORDER

      Before the Court is Defendant the Department of Justice’s Second

Motion to Amend Scheduling Order. (Doc. 26.) Plaintiff Mark Gyetvay has

responded in opposition to the request. (Doc. 27.) For the reasons below, the

motion is granted in part and denied in part.

                               I. Background

      Over two years ago, Gyetvay submitted a FOIA request to the Tax

Division of the United States Department of Justice, seeking 22 categories of

records. (Doc. 22-1 at 11-17.) Within days, the Tax Division acknowledged

receipt and informed Gyetvay that the request was complex because the

records were likely voluminous, they concerned a criminal matter, and the Tax

Division had to coordinate its response with other agencies. (Id. at 18-20.) The
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Tax Division also told Gyetvay that his request would be processed on a first-

in, first-out basis. (Id. at 19.)

      Six months passed without responsive documents. (Doc. 2 ¶ 16, 20.) So

Gyetvay sued to compel disclosure under the Freedom of Information Act

(“FOIA”). The Tax Division was ordered to deliver all responsive, non-exempt

documents by September 25, 2023. (Doc. 18 at 2.)

      The Tax Division did not meet this deadline but moved to amend the

schedule. (Doc. 22.) It explained that Gyetvay’s request was complex, it

underestimated the number of responsive documents, had other matters to

attend to, and did not employ enough staff to process the FOIA requests it

received. (Id. at 2-4.) The Tax Division asked the Court to extend the deadline

to process Gyetvay’s request sixteen months, to January 2025. (Id. at 1.) The

Court granted the motion in part, extending the deadline six months to March

29, 2024. (Doc. 24.)

      On March 29, the Tax Division produced no documents. Instead, it again

asked the Court to extend the deadline to January 2025. (Doc. 26 at 1.)

                                    II. Standard

      Typically, FOIA allows an agency twenty days to respond to a request. 5

U.S.C. § 552(a)(6)(A). Once suit is filed, FOIA states that the court may retain

jurisdiction and allow the agency more time to complete its review of the

records “[i]f the Government can show exceptional circumstances exist and


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that the agency is exercising due diligence in responding to the request.” Id. §

552(a)(6)(C). Exceptional circumstances do not “include a delay that results

from a predictable agency workload of requests . . . unless the agency

demonstrates reasonable progress in reducing its backlog of pending requests.”

Id. § 552(a)(6)(C)(ii).

      “[R]outine, predictable agency backlogs for FOIA requests do not

constitute exceptional circumstances.” Elec. Priv. Info. Ctr. v. F.B.I., 933 F.

Supp. 2d 42, 46 (D.D.C. 2013). “Accordingly, it is not sufficient that an agency

receives a high number of FOIA requests or has a large backlog of requests to

which it must respond.” Daily Caller News Foundation v. F.B.I., 387 F. Supp.

3d 112, 116 (D.D.C. 2019). “Instead, an agency must show that the number of

requests received in the relevant period was truly unforeseen and remarkable.”

Id. Apart from the statute, courts have held that other circumstances are

relevant considerations, including “an agency’s efforts to reduce the number of

pending requests, the amount of classified material, [and] the size and

complexity of other requests processed by the agency.” Elec. Frontier Found. v.

Dep’t of Justice, 517 F. Supp. 2d 111, 117 (D.D.C. 2007).

                               III. Discussion

      The Tax Division blames its delay on three “exceptional circumstances”:

(1) Gyetvay’s request is “unusually large or complicated,” (2) it has been

overwhelmed with a large volume of FOIA requests, and (3) another court has


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ordered it to process a different outstanding request. (Doc. 26 ¶ 8-11.) In her

Second Declaration, which is attached to the motion, Carmen Banerjee, Senior

Tax Division Counsel for FOIA and Privacy Act Matters, offers a fourth reason

for the extension: staff shortages. (Doc. 26-1 ¶ 28-31.) These arguments are

substantially similar to those raised the last time the Tax Division sought an

extension. (Compare Doc. 22 and Doc. 22-1 with Doc. 26 and Doc. 26-1.)

      The primary issue seems to be a lack of staffing. Banerjee is “the only

attorney in the Tax Division processing FOIA requests.” (Doc. 22-1 ¶ 5.) She

supervises the Division’s FOIA/PA Unit, which consists of one government

information specialist who processes requests. (Doc. 22-1 ¶ 5, Doc. 26-1 ¶ 28.)

However, that employee has other duties. (Doc. 22-1 ¶ 5.) So they trained “a

non-FOIA professional in CTS-E in FOIA processing.” (Doc. 22-1 ¶ 6.) But she

recently left. The Court sympathizes with Banerjee; however, the Tax

Division’s failure to hire enough staff to review incoming FOIA requests is not

an exceptional circumstance justifying more time. It is a self-inflicted

handicap.




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      The Tax Division seemingly has plenty of resources. 1 But as best the

Court can tell from Banerjee’s declaration, it does not employ a full-time

employee, or the equivalent, to process incoming FOIA requests:

      Each FY annual report requires Department components report on
      the number of full-time personnel or full-time equivalent [who]
      processed FOIA requests during that FY. Accounting for the FOIA
      Team and the professionals throughout the Division it worked
      with to process the FOIA requests, in FY 2022 the Tax Division’s
      full-time equivalent was .079 out of 100 where 100 represents the
      equivalent of one full-time employee.

(Id. ¶ 11 (emphasis added).) No wonder there is such a backlog. While the Court

cannot direct the Tax Division’s allocation of resources, it will not accept delays

resulting from its apparent failure to staff these matters.

      The Tax Division also believes exceptional circumstances arise because

it “had been court-ordered to process over 500,000 records” in Stonehill v. U.S.

Dep’t of Justice, Tax Division which “has limited the agency’s ability to respond

to other FOIA requests.” (Doc. 26 ¶ 11.) The Court does not agree. The Tax

Division had plenty of notice it would need to process both requests. It may not

prioritize one court order at the expense of another. When a deadline is set, the

Tax Division must endeavor to meet it.



1 U.S. Department of Justice, FY 2023 Budget and Performance Summary, Tax Division

(available at https://www.justice.gov/doj/fy-2023-budget-and-performance-summary); FY
2024     Budget    and     Performance     Summary,    Tax    Division   (available  at
https://www.justice.gov/doj/fy-2024-budget-and-performance-summary); U.S. Department of
Justice, FY 2025 Budget and Performance Summary, Tax Division (available at
https://www.justice.gov/doj/fy-2025-budget-and-performance-summary).


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      Next, the Tax Division argues exceptional circumstances are present

because it “has been overwhelmed with FOIA requests.” (Doc. 26 ¶ 9, Doc. 26-

1 ¶ 32-35.) According to Banerjee, the Tax Division received 136 FOIA requests

between May 2, 2023, and March 25, 2024, which are contributing to a backlog.

(Doc. 26-1 ¶ 32-35.) But the Tax Division has not shown these later-filed

requests justify another extension. “[A] high number of FOIA requests” or

“large backlog of requests,” without a showing that they are “truly unforeseen

and remarkable,” does not constitute exceptional circumstances. Daily Caller

News Foundation, 387 F. Supp. 3d at 116. Neither the Tax Division’s motion

nor Banerjee’s declaration show that the 136 requests the Tax Division

received after Gyetvay’s, or the resulting backlog, were unforeseen or

remarkable. (Doc. 26-1 ¶ 28-35.)

      At any rate, those requests were received more than a year after

Gyetvay’s. (Id. ¶ 32-33.) According to the Tax Division’s motion, it “respond[s]

to requests on a first come, first served basis, within a two-tiered structure of

simple FOIA requests and complex FOIA requests.” (Doc. 26 ¶ 13 (emphasis

added).) Such a scheme generally satisfies the “due diligence” requirement.

Cohen v. F.B.I., 831 F. Supp. 850, 854 (S.D. Fla. 1993). But the processing

report shows the Tax Division has resolved eighty-five of the 136 FOIA

requests filed after Gyetvay’s. (Doc. 26-1 ¶ 33-35.) Seventeen of those were

designated “complex” and should have been on the same track as his request.


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(Id., Doc. 26-2.) If the Tax Division were proceeding on a first-in, first-out basis,

those requests should have been addressed after Gyetvay’s. (Doc. 26 ¶ 13.)

Thus, it is unclear whether the Tax Division exercised due diligence in

responding to Gyetvay’s request.

      Finally, the Tax Division argues the breadth and complexity of Gyetvay’s

request presents an exceptional circumstance. (Doc. 26 ¶ 10.) It cites Open

America v. Watergate Special Prosecution Force for the proposition that a FOIA

request “which consisted of over 38,000 pages, was a massive quantity of pages

that qualified as an unusually large or complicated FOIA request, creating

exigent circumstances[.]” (Id. ¶ 4.) According to Banerjee, there are 166,968

pages of potentially responsive documents here. (Doc. 26-1 ¶ 15.) If so, this case

concerns significantly more documents than Open America.

      Assuming the volume of documents responsive to Gyetvay’s request

presents an “exceptional circumstance,” there are critical distinctions between

the FBI’s efforts in Open America and the Tax Division’s efforts here. Most

notable is the agencies’ divergent approaches to resource allocation. In Open

America, the FBI employed at least 191 people to process FOIA requests and

used specialized teams to review complex or expansive requests. See Open Am.

v. Watergate Special Prosecution Force, 547 F.2d 605, 612, 613 (D.C. Cir. 1976).

In stark contrast, the Tax Division uses the equivalent of less than one-tenth

of an employee to process FOIA requests. (Doc. 22-1 ¶ 11.) While Banerjee and


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her team’s productivity has increased in the past six months, the Tax Division

is not yet halfway through its first-level review two years after Gyetvay filed

his request. (Doc. 26-1 ¶ 14-16.) That timeline can hardly be described as

diligent.

      Gyetvay’s request has been outstanding for more than two years. “If [the

Tax Division] were provided the additional time it requests, the Court would

bless a three-year clock for completion of the FOIA request. That is a bridge

too far.” (Doc. 24 at 6.) The Tax Division’s failure to comply with the Court’s

order does not stem from exceptional circumstances that have overcome its

exercise of due diligence. Rather, it seemingly results from procrastination and

a self-inflicted handicap.

      The Court recognizes that the Tax Division cannot currently produce the

overdue documents. (See Doc. 26-1 ¶ 14-16.) But the Court will not “bless a

three-year clock for completion of the FOIA request.” (Doc. 24 at 6.) The Tax

Division must produce all responsive, non-exempt documents by July 18, 2024.

      Accordingly, Defendant’s Second Motion to Amend the Scheduling Order

(Doc. 26) is GRANTED IN PART AND DENIED IN PART. An amended

FOIA case management and scheduling order will enter separately.

      ORDERED in Fort Myers, Florida on April 23, 2024.




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Copies: All Parties of Record




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